16-10992-smb         Doc 2485        Filed 02/16/17 Entered 02/16/17 12:10:40              Main Document
                                                  Pg 1 of 8


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 -------------------------------------------------------------------   x
 In re:                                                                :
                                                                       :   Chapter 11
 SUNEDISON, INC., et al.,                                              :   Case No. 16-10992 (SMB)
                                                                       :   (Jointly Administered)
                                                                       :
                                     Debtors.                          :
 -------------------------------------------------------------------   x
                                                                       :
 OFFICIAL COMMITTEE OF UNSECURED                                       :   Adversary Proceeding
 CREDITORS, on behalf of the estates of the Debtors,                   :   No. 16-01228 (SMB)
                                                                       :
                                     Plaintiff,                        :
                            v.                                         :
                                                                       :
 WELLS FARGO BANK, N.A., et al.,                                       :
                                                                       :
                                     Defendants.                       :
 -------------------------------------------------------------------   x


        STIPULATION OF FACTS IN CONNECTION WITH DISPOSITION OF OID
                           CONTESTED MATTERS

          WHEREAS, the Official Committee of Unsecured Creditors (the “Creditors’

 Committee”) commenced the above-captioned Adversary Proceeding by filing an Adversary

 Complaint on October 20, 2016 [AP Dkt. No. 1];

          WHEREAS, the Creditors’ Committee filed an Amended Adversary Complaint on

 November 22, 2016 [AP Dkt. Nos. 12, 13];

          WHEREAS, the First, Second, and Third Causes of Action asserted in the Adversary

 Proceeding seek to disallow portions of (a) Proof of Claim No. 3555 filed by Wilmington

 Savings Fund Society, FSB, as Prepetition Second Lien Administrative Agent, and (b) Proof of

 Claim No. 1490 filed by Wilmington Trust, National Association, as Trustee for the 5%

 Guaranteed Convertible Senior Secured Notes due July 2, 2018 (collectively, the “Second Lien
16-10992-smb     Doc 2485         Filed 02/16/17 Entered 02/16/17 12:10:40        Main Document
                                               Pg 2 of 8


 Claims”) as unmatured interest in the form of unamortized original-issue discount (“OID”)

 under Section 502(b)(2) of the Bankruptcy Code (the “OID Objections”);

        WHEREAS, on October 20, 2016, BOKF, N.A., solely in its capacity as Indenture

 Trustee with respect to the (i) 2.00% convertible unsecured notes due 2018, (ii) 0.25%

 convertible unsecured notes due 2020, (iii) 2.75% convertible unsecured notes due 2021, (iv)

 2.375% convertible unsecured notes due 2022, (v) 2.625% convertible unsecured notes due

 2023, and (vi) 3.375% convertible unsecured notes due 2025, issued by SunEdison, Inc.

 (“SUNE”) filed a claim objection in the underlying bankruptcy case (the “BOKF Objection”)

 seeking to disallow portions of the Second Lien Claims as unmatured interest in the form of

 unamortized OID (the “BOKF Objection” and, together with the OID Objections, the “OID

 Contested Matters”) [Bankr. Dkt. No. 1455];

        WHEREAS, pursuant to the Stipulation and Agreed Order (I) Setting Briefing Schedule

 and Hearing Date on Defendants’ Motions to Dismiss Amended Complaint; and (II) Granting

 Leave with Respect to Page Limitations filed on November 21, 2016 [AP Dkt. No. 8], the parties

 hereto agreed that the OID Objections are claim objections that have commenced a contested

 matter in accordance with Bankruptcy Rules 3007 and 9014 on a schedule to be determined;

        WHEREAS, on January 10, 2017, the Court held a conference and directed the parties

 hereto to seek to negotiate a stipulation of undisputed material facts that may be relevant to the

 disposition of the OID Contested Matters;

        IT IS HEREBY STIPULATED by the parties hereto, through their undersigned counsel

 that, solely for the purposes of the OID Contested Matters, the following facts should be

 accepted as true by the Court:




                                                 2
16-10992-smb    Doc 2485     Filed 02/16/17 Entered 02/16/17 12:10:40          Main Document
                                          Pg 3 of 8


       A. The Term Loans

       1. On January 11, 2016, SUNE entered into a Second Lien Credit Agreement (the
          “Prepetition Second Lien Term Loan”) among SUNE, as borrower, each lender
          from time to time party thereto (the “Prepetition Second Lien Term Loan
          Lenders”), Deutsche Bank AG New York branch as administrative agent, and others,
          pursuant to which term loans (the “Term Loans”) in a principal amount of US $725
          million, due July 2018, were issued consisting of (a) US $500 million in principal
          amount of Tranche A-1 term loans (the “Tranche A-1 Term Loans”) and (b) US
          $225 million in principal amount of Tranche A-2 term loans (the “Tranche A-2 Term
          Loans”). On or around April 7, 2016, Deutsche Bank AG New York was replaced by
          Wilmington Savings Fund Society FSB, as successor administrative agent (“WSFS”).

       2. A copy of the forms of notes for the Term Loans is attached as Exhibit A.

       3. A copy of the Second Lien Credit Agreement governing the Prepetition Second Lien
          Facility is attached as Exhibit B.

       4. The Prepetition Second Lien Facility provides at section 2.09(a):

                     “Borrower agrees to pay on the Closing Date to each Lender party
                     to this Agreement as a Lender of Tranche A-1 Term Loans on the
                     Closing Date, as fee compensation for the funding of such
                     Lender’s Tranche A-1 Term Loan, a closing fee in an amount equal
                     to 4.00% of the stated principal amount of such Lender’s Tranche
                     A-1 Term Loan, payable to such Lender from the proceeds of its
                     Tranche A-l Term Loan as and when funded on the Closing Date.
                     Such closing fee will be in all respects fully earned, due and
                     payable on the Closing Date and non-refundable and non-
                     creditable thereafter.”

       5. 4.00% of the $500 million stated principal amount on the Tranche A-1 Term Loans is
          $20 million.

       6. If the $20 million fee were treated as unmatured interest in the form of unamortized
          OID, then as of April 21, 2016 (the “Petition Date”), US $18 million remained
          unamortized based on a constant yield method of amortization.

       B. The Warrants

       7. The Prepetition Second Lien Facility obligated SUNE to issue to the Prepetition
          Second Lien Term Loan Lenders 28.7 million warrants (the “Warrants”) to purchase
          SUNE common stock. The Warrants were issued on January 11, 2016, and were
          immediately exercisable for a strike price of US $0.01. See Exhibit B at section 6.19:

                     “Borrower shall issue Warrants to each Initial Lender (other than
                     the Fronting Arrangers) and each Schedule 2.09 Lender on the
                     Closing Date (each a “Warrant Holder”), for the account of such


                                               3
16-10992-smb    Doc 2485     Filed 02/16/17 Entered 02/16/17 12:10:40            Main Document
                                          Pg 4 of 8


                     Warrant Holder or its designee, to purchase the number of shares
                     of the common stock of the Borrower set forth opposite the name
                     of such Person on Schedule 6.19, which number shall correspond
                     to 39,526 shares of common stock of the Borrower per $1,000,000
                     of Term Loans provided by such Lender. Notwithstanding
                     anything to the contrary in the foregoing, no such issuance shall be
                     required or shall be effective unless and until the Person to whom
                     the Warrant is to be issued pursuant to this Section 6.19
                     countersigns the applicable Warrant (thereby making the
                     representations set forth in the form of Warrant attached as Exhibit
                     B hereto). For U.S. federal income tax purposes, the Term Loans
                     to be held by the Warrant Holders, together with the Warrants, shall
                     be treated as an investment unit, and the “issue price” of the Term
                     Loans shall be determined by the Borrower (in consultation with
                     the Administrative Agent) based on the relative fair market values
                     of the Term Loans and the Warrants on the “issue date”. For
                     purposes of the preceding sentence, the issue date shall be the first
                     date on which a substantial amount of the Term Loans are in good
                     faith believed by the Borrower to be sold to persons other than
                     bond houses, brokers or similar organizations acting in the capacity
                     of underwriters, placement agents or wholesalers. The Borrower
                     will provide any information reasonably requested from time to
                     time by the Administrative Agent or any Lender regarding the
                     original issue discount associated with any Term Loans for U.S.
                     federal income tax purposes.”

       8. Exercise of the Warrants would not terminate or otherwise convert the Term Loans to
          equity. In other words, the Prepetition Second Lien Term Loan Lenders could both
          exercise the Warrants and continue to retain the Term Loans.

       9. The Warrants had a market value of $84 million at issuance.

       10. If the $84 million were treated as unmatured interest in the form of unamortized OID,
           then as of the Petition Date, US $75 million remained unamortized based on a
           constant yield method of amortization.

       C. The Notes Exchange

       11. Also on January 11, 2016, SUNE issued US $225 million in aggregate principal
           amount of 5% second-lien senior secured convertible notes due 2018 (the “New
           Notes”, and together with the Term Loans, the “Prepetition Second Lien Facilities”)
           under an indenture dated as of January 11, 2016, among SUNE, as borrower,
           Wilmington Trust, National Association, as trustee, and others.

       12. The New Notes were issued in an exchange (the “Notes Exchange,” and, together
           with the issuance of the Term Loans, the “January 2016 Transactions”, and the
           lenders involved in the January 2016 Transactions, together with their successors in


                                               4
16-10992-smb    Doc 2485     Filed 02/16/17 Entered 02/16/17 12:10:40           Main Document
                                          Pg 5 of 8


          interest, the “Prepetition Second Lien Lenders”) which is described in the form 8-K
          filed by SUNE on January 7, 2016 (the “January 7 8-K”). A copy of the January 7
          8-K is attached hereto as Exhibit C.

       13. The exchange agreements reflecting the exchange of outstanding SUNE unsecured
           convertible notes (the “Old Notes”) for New Notes are attached to the Declaration of
           Deborah J. Newman in Further Support of the Second Lien Defendants’ Motion to
           Dismiss, filed in the above-captioned adversary proceeding at Dkt. 45.

       14. Not all holders of Old Notes were given the opportunity to exchange their Old Notes
           for New Notes.

       15. As of the closing of the Notes Exchange, the market value of the Old Notes that were
           exchanged for New Notes was $132 million, based on a weighted average trading
           price of $0.3929 per $1 of face value.

       16. The difference between the market value of the Old Notes that were traded in and the
           face value of the New Notes that SUNE was obligated to repay was US $93 million.

       17. If the $93 million were treated as unmatured interest in the form of unamortized OID,
           then as of the Petition Date, US $85 million remained unamortized based on a
           constant yield method of amortization.

       18. As of the closing of the Notes Exchange, the market value of the New Notes was
           $177 million, based on a trading price of $0.7867 per $1 of face value.

       19. The difference between the market value of the New Notes and the face value of the
           New Notes that SUNE was obligated to repay was $48 million.

       20. If the $48 million were treated as unmatured interest in the form of unamortized OID,
           then as of the Petition Date, US $43.5 million remained unamortized based on a
           constant yield method of amortization.

       21. The directors and officers of SUNE provided material false and misleading
           information to the Second Lien Lenders in connection with the January 2016
           Transactions, including (among other things) that:

               a. SUNE was projecting approximately $223 million of EBITDA from its
                  Services Business for 2016;

               b. SUNE had over $1.3 billion in cash-on-hand; and

               c. There were no ongoing investigations concerning SUNE.

       22. At no time at or before January 11, 2016 had a default or Event of Default (as defined
           in the respective Indentures, Credit Agreements, Security Agreements, or other
           agreements governing the such obligations) been declared with respect to (i) a certain
           US $169 million second-lien term loan issued as of August 11, 2015 by Goldman


                                               5
16-10992-smb    Doc 2485      Filed 02/16/17 Entered 02/16/17 12:10:40           Main Document
                                           Pg 6 of 8


          Sachs Bank USA, (ii) a certain US $750 million senior secured first lien letter of
          credit facility, dated as of February 28, 2014, and amended from time to time
          thereafter, and (iii) the Old Notes.

       D. The Financial Situation for SUNE

       23. SUNE expanded aggressively in the years leading up to the petition date using
           borrowed and invested capital. Between December 2013 and January 2016, SUNE
           committed to over $18 billion in acquisitions funded by approximately $24 billion of
           capital raised through debt and equity offerings.

       24. Several of these investments proved disastrous, requiring intensive capital
           commitments and consequently limiting SUNE’s capacity to acquire additional
           projects due to its unwillingness or inability to pay for the same in cash.

       25. As a result, SUNE’s stock price dropped by approximately two-thirds between July
           20, 2015 and August 31, 2015, and continued to trend downward thereafter.

       26. In August 2015, SUNE was forced to make an unexpected outlay of cash to acquire
           $30 million in Class A common stock of one of its two “YieldCo” subsidiaries,
           TerraForm Global, Inc. This unexpected outlay of cash put further strain on SUNE’s
           liquidity.

       27. Shortly thereafter, in October 2015, share prices of SUNE’s other YieldCo subsidiary,
           TerraForm Power, Inc., fell below a critical threshold for a margin loan that SUNE
           had entered into to finance one of its acquisitions, and as a result SUNE was required
           to repay the $439 million balance of the loan. This prepayment obligation further
           depleted SUNE’s remaining cash reserves.

       28. On December 24, 2016, SUNE disclosed that an investor presentation had been
           provided to certain of its potential and existing financing sources. A copy of the form
           8-K filed by SUNE on December 24, 2015 referencing the presentation is attached
           hereto as Exhibit D, and a copy of the presentation is attached hereto as Exhibit E.

       29. On January 7, 2016, SUNE disclosed that an investor presentation had been provided
           to certain of its potential and existing financing sources. The January 7 8-K
           referenced the presentation, and a copy of the presentation is attached hereto as
           Exhibit F.

       30. Market indicators showed a growing lack of confidence in SUNE’s business. For
           example, SUNE’s outstanding unsecured convertible notes were trading at significant
           discounts to par.

       E. Miscellaneous

       31. No party hereto shall be precluded from offering evidence in addition to these
           stipulated facts.



                                                6
16-10992-smb     Doc 2485      Filed 02/16/17 Entered 02/16/17 12:10:40           Main Document
                                            Pg 7 of 8


        32. Wilmington Savings Fund Society, FSB is entering into this stipulation only as to the
            recitals and paragraphs 1-12 and 23-31.

        33. Wilmington Trust, National Association is entering into this stipulation only as to the
            recitals and paragraphs 11-31.

 Dated: New York, New York
        February 16, 2017


 By:/s/ Michael S. Kim
 Michael S. Kim
 Jeremy C. Hollembeak
 Benjamin J.A. Sauter
 Joe Slaughter
 Kobre & Kim LLP
 800 Third Avenue
 Telephone: (212) 488 1200
 jeremy.hollembeak@kobrekim.com; benjamin@sauter@kobrekime.com.
 (Special Counsel to the Official Committee of Unsecured Creditors)


 By:/s/ Leo T. Crowley
 Leo T. Crowley
 Dania Slim
 Pillsbury Winthrop Shaw Pittman LLP
 1540 Broadway
 New York, NY 10036
 Telephone: (212) 858-1000
 leo.crowley@pillsburylaw.com.
 (Counsel to defendant Wilmington Savings Fund Society, FSB, in its capacity as successor
 Administrative Agent for the Prepetition Second Lien Facility)


 By:/s/ Andrew Goldman
 Andrew Goldman
 WilmerHale
 7 World Trade Center
 250 Greenwich Street
 New York, New York 10007
 Telephone: (212) 230-8800
 andrew.goldman@wilmerhale.com
 (Counsel to Defendant Wilmington Trust, National Association, in its capacity as Indenture
 Trustee for the Prepetition Second Lien Notes and Collateral Trustee under the Prepetition
 Security Agreement)




                                                 7
16-10992-smb     Doc 2485     Filed 02/16/17 Entered 02/16/17 12:10:40        Main Document
                                           Pg 8 of 8


 By:/s/ David Zensky
 Daniel H. Golden
 David M. Zensky
 Erik Preis
 Deborah J. Newman
 Akin Gump Strauss Hauer & Feld LLP
 One Bryant Park
 New York, New York 10036
 (212) 872-1000 (Telephone)
 (212) 872-1002 (Facsimile)
 dgolden@akingump.com; apreis@akingump.com; dzensky@akingump.com;
 djnewman@akingump.com
 (Counsel to the Second Lien Lender Defendants Listed on Schedule A hereto)


 By: /s/ J. Christopher Shore
 J. Christopher Shore
 Harrison L. Denman
 Michele J. Meises
 White & Case LLP
 1155 Avenue of the Americas
 New York, NY 10036
 Telephone: (212) 819-8200
 Facsimile: (212) 354-8113
 cshore@whitecase.com; harrison.denman@whitecase.com
 (Counsel to BOKF, N.A., as Convertible Notes Trustee)




                                              8
